Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 1 of 22

In The
United States District Court
Northern District of
Florida
ANDREW WARREN, ) Number:
PLAINTIFF, ) 4:232-cv-00302-RH-MAF
V. )
RONALD DESANTIS, ET AL, )
DEFENDANTS. )

Notice of Appeal

NOW COMES, Scott Huminski (“Huminski’”), and notifies that he hereby appeals to the
United States Court of Appeals for the 11" Circuit from denial of intervention (Docket Entry # 9)
in the order of 9/2/2022, served on 9/6/2022, (Docket Entry # 31) and from the decision of the
Court not to docket or hear the Motion for Reconsideration / Rehearing dated 9/10/2022
requesting rehearing related to DE 31.

09022022 31 ORDER DENYING § & 12 MOTIONS TO INTERVENE. Mr Huminski's motion for leave to intervene, ECF No.9 is dened. His notice of appearance, ECF No. 25 , and affidavit
ECF No, 26, are struck. Mr. LoRusso's amended complaint, ECF No. 12 1s deemed a motion for leave to intervene, The motion is demed. The clerk must provide copies of this order to
| Mc Huminski and Mr. LoRusso but not add them tothe docket or provide them copies of further filings, Sioned by JUDGE ROBERT L HINKLE on 0902/2022 (cb)**Copies of ECE
| 31 forwarded as directed to Mr LoRusso & Mr Hummisks** Moditied on 962022 (reo). (Entered: 09062022)

 

The order, DE 31, was mailed to Huminski on 9/6/2022 which was received by Huminski

via the USPS on 9/10/2022.

Huminski also appeals from the Court Below’s refusal to docket and hear the motion for
reconsideration/rehearing authored and mailed to the Court on 9/10/2022 and received via the
USPS by the Court on 9/14/2022 and never docketed. After the failure to docket, Huminski hand-
delivered the 9/10/2022 motion for reconsideration/rehearing on 9/19/2022 and a true and correct

copy of the file-stamped paper received by the District Court is attached hereto as Exhibit “A”.

Attached hereto as Exhibit “B” is the file stamped copy of Huminski’s notice of service and
mailing to the Court (concerning the mailing and delivery of the motion to reconsider) hand

delivered on 9/19/2022 to the District Court and never docketed after the paper was accepted and

 
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 2 of 22

date-stamped by the clerk.

Attached hereto as Exhibit “C” is a true and correct copy of the envelope that mailed the
9/2/2022 denial of intervention to Huminski with a mailing date of 9/6/2022.

Attached hereto as Exhibit “D” is a true and correct copy of the order denying intervention

under appeal.

Huminski notes that pursuant to the order of 9/2/2022, Huminski is forbidden from filing
this Notice of Appeal in stark contrast to the First Amendment, Due Process and Equal Protection

as quoted below,

“Mr. Huminski and Mr. LoRusso should file nothing further. This is not an open forum for
submission of public comments.”

Subsequently, the clerk below simply discarded the filings of Huminski. See Exhibit “A”
and “B”, hand-delivered, file stamped and then discarded by the District Court. The above quote
is the unconstitutional language relied upon by the clerk of the Court Below regarding the refusal
to file documents. It is a dubious proposition that this notice of appeal will be docketed given the
prohibition on speech and redress of grievances adopted by the Court below. This use of a prior
restraint concerning access to the Courts should be squarely reversed just as the use of trespass
notices to restrict courthouse access was deemed unconstitutional in a prior Huminski court access
case. See Huminski y. Corsones, 396 F.3d 53 (2d Cir. 2005).

In addition to direct appeal, Huminski seeks a writ of prohibition/mandamus regarding
the District Court’s prior restraint upon speech concerning Huminski’s motion to reconsider
(Exhibit “A”) and Exhibit “B” and this paper. This paper will be hand-delivered to the District
Court, whether it is docketed or just merely discarded is unknown. Huminski faces the risk that
he may face contempt charges and incarceration for merely filing this notice of appeal or the two
other papers that the clerk below refused to docket. The epitome of a “chilling” effect upon
speech just as egregious as Governor DeSantis’ conduct making permanent the lifetime speech
prohibition in 2021-2022 that formed the basis for intervention set forth below,

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Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 3 of 22

Dated at Miami, Florida this 27"

  

y of September, 2022

   
 

-/S/- Scott Huminski

 

 

Scott Huminski, pro se
P.O. Box 353820
Palm Coast, FL 32135
(239) 300-6656
S_Huminski@live.com
Certificate of Service

Copies of this document and any attachment(s) was served upon the parties via the U.S. Mails
and/or email and/or the e-filing system in this case.

Dated this 27" day of September, 2022.

 

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-/s/- Scott Huminski @ A OO a. fa
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Scott Huminski

EXHIBIT “A”
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 4 of 22
In The

United States District Court
Northern District of
Florida

ANDREW WARREN, Number:

PLAINTIFF, 4:22-cv-00302-RH-MAF
Vv.
RONALD DESANTIS, ET AL,

DEFENDANTS.

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Motion for reconsideration/rehearing Re: Denial of
intervention 9/2/2022

NOW COMES, Scott Huminski (“Huminski’”), and moves for

reconsideration/rehearing of the denial of intervention of September 2, 2022 for the reason that

Huminski’s facts are consistent with the torts alleged by the Plaintiff - First Amendment

retaliation by the Governor. The Governor tortuously chose to make permanent the lifetime

banishment of Huminski from communication with the entire State Government of Florida,

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The Governor accomplished the outrageous lifetime silencing of Huminski in State Court

litigation in 2021 and 2022 whereby Defendant DeSantis engaged in a course of conduct in 2 State

Courts to see to it that the above speech prohibition would prejudice, injure and harm Huminski

for the remainder of his life. First Amendment retaliation embodied in “No Communication with

the Parites in the civil or criminal case [State of Florida]” could not be more egregious, over-broad

and vague. It is wildly unconstitutional, yet, it was vigorously fought for by the Governor

The Governor engaged in one count of First Amendment retaliation against Mr. Warren, in

contrast, Huminki has been silenced for life and the retaliation continues into the future

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Huminski agrees that denial of the non-party’s (Mr. LaRusso) Amended Complaint was
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Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 5 of 22

proper even construed as a Motion to Intervene because a tort attributed to the Governor is not
mentioned in the paper. Court proceedings are not a sounding board. Huminski’s tort allegations
relate to the Governor’s conduct in State Court proceedings (2021, 2022) that made a lifetime
prohibition against Huminski’s speech with the entire State Government of Florida permanent.
The retaliation against the speech of Huminski by the Govemor is a continuing tort that will
prohibit speech in perpetuity and cause ongoing prejudice, injury and harm. The Governor
proceeds with his policies with reckless indifference to the First Amendment rights of the citizens

of Florida —- Huminski. Mr. LaRusso’s “Amended Complaint” fails to allege any injury.

The paper concurrently decided in the 9/2/2022 order is Mr. LaRusso’s “Amended
Complaint” that does not mention a tort of Defendant DeSantis once. Why the Court lumped
Huminski’s motion to intervene and memo of law proffering torts against the Governor in the
same order is bewildering and defies logic and will make appellate review complex and also

bewildering.

Further, the denial of intervention, fails to set forth a sufficient record for appeal with zero
analysis of fact or law proffered by Huminski. It only speaks of the paper of Mr. LaRusso. The
reasoning is quite clear with regard to the “Amended Complaint” of Mr. LaRusso.

Huminski notes the failure of any party to oppose intervention or allege prejudice is a
significant factor concerning intervention in his favor. A fact not plead by Mr. LaRusso because

he did not seek to intervene. A different legal standard and analysis is applicable.

The Court’s addressing Huminski’s intervention in the same paper and for the same
reasoning as an “Amended Complaint” when the fact and law differ massively from the order
denying a paper that does not request intervention, does not state a claim in common with that of
the Plaintiff and has no relevance to the issues at Bar is puzzling. In contrast, Huminski alleges
First Amendment retaliation similar to that of the Plaintiff, i.e. Huminski’s banishment from
communication with the entire State of Florida government for life in retaliation for core protected
First Amendment expression. Mr. Warren’s speech is also core protected political expression.
The other so-called “intervenor” denied in the same order of 9/2/2022 does not request

intervention nor does he allege any legal grounds for intervention.

Denying Mr. LaRusso’s “Amended Complaint” with the same order as Huminski’s
intervention motion is without logic and the legal standard for analysis of an “Amended
Complaint” versus a motion to intervene with adequate fact and legal argument is quite different.
Further Mr. LaRusso’s paper does not allege any claims or points of law in common with the

Plaintiff. This is not the case in Huminski’s First Amendment retaliation claims proffered and his
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memo of law in support of intervention. The Court mistakenly mixed apples with oranges,

Huminski v. Mr. LaRusso’s papers and threw the baby out with the bathwater.

Concisely, the same order denying an “Amended Complaint” and a “Motion to Intervene”
for the same factual and legal reasons defies logic when the facts are different and when Mr.
LaRusso does not request intervention and states no legal grounds for intervention. There is no
factual or legal similarities between the two papers denied on the same factual and legal grounds
by the Court. The order of 9/2/2022 defies logic and should at least be clarified to allow a
meaningful appeal pursuant to the fact and law proffered by Huminski, not Mr. LaRusso’s wild

assertions. The order appears to punish Huminski for the baseless wild filings of Mr. LaRusso.

American jurisprudence does not support a non-party filing of an Amended Complaint that
never mentioned intervention nor listed a legal basis for the filing of an Amended Complaint nor
intervention. Huminski sees no claims proffered by Mr. LaRusso that remotely resemble the
claims of the Plaintiff, whereas, the First Amendment retaliation plead by Huminski is quite a
good match to the First Amendment claims of Mr. Warren. Both the Plaintiff and Huminski cite
torts by the Governor. Mr. LaRusso does not.

Mr. LaRusso states no claims related to the Governor. Quite to the contrary, Huminski
asserted that the Governor engaged in State Court litigation in 2021 and 2022 seeking to silence
Huminski’s core protected political expression — for life. The Governor’s conduct ensured that
Huminski’s lifetime speech prohibition with the entire State government of Florida would
prejudice Huminski for life. A continuing tort and offense. Mr. LaRusso makes no such claims or
any claims against the Governor. Mr. LaRusso only appears to disagree with the governance

decisions of Mr. DeSantis in his “Amended Complaint”.

The Governor zealously fought to protect and make permanent in 2021 and 2022 the
Huminski perpetual speech prohibition with the entire government of Florida and attempted to
breathe life into a patently void ab initio judgment achieved without jurisdiction over the parties
or subject matter, a patently outrageous violation of rudimentary Due Process and Equal

Protection,

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The plaintiff in the criminal case was the State of Florida and the speech prohibition does not
expire. Silencing dissent is the hallmark of a police state and a Governor’s successful conduct of
breathing life into a patently void ab initio judgment that contains a lifetime speech prohibition

violates the Eighth Amendment and is a punishment for alleged future speech “crimes”.

The “Amended Complaint” of Mr. LaRusso and Huminski’s well supported and briefed
Motion to Intervene share no similarities, do not seek the same relief and can not be decided with
one paper that may address Mr. LaRusso’s paper, but, fails to address the fact or law proffered by
Huminski. Mr. LaRusso’s paper claims other officials should be suspended by the Governor,
conversely, Huminski pleads constitutional deprivations arising out of the conduct of the
Governor. Mr. LaRusso’s paper seeks no relief against the Governor nor does it allege a similar
tort set forth in the Complaint. Huminski’s paper strongly alleges First Amendment retaliation
among other constitutional deprivations including Due Process (breathing life into a void ab initio

judgment) and Equal Protection (lifetime speech prohibition secured by the Governor).

As of the date of this paper, Huminski has not received service of the order denying

intervention and found out by viewing the docket online.
Attached hereto as Exhibit “A” is proof of mailing to the Court of this paper.

Attached hereto as Exhibit “B” is a copy of a Huminski recent publication, the type of
speech the Governor seeks to silence. What the Governor sought to silence and retaliate against is

clear, core protected political First Amendment expression,

https://cdn.muckrock.com > desantis_article sor

Gov. DeSantis: The New Nixon - MuckRock

Gov. DeSantis: The New Nixon. Is the Cover-up worse than the crime? How similar is Gov. Ron
DeSantis' cover-up.of ihe jelony forgeries of Chief.
3 pages

WHEREFORE, the denial of intervention should be reconsidered/reheard with sufficient detail to
allow a meaningful appeal including an analysis of fact and law which was lumped in with the
nonsensical rantings of Mr. LaRusso in his “Amended Complaint” to allow meaningful appellate
review. The two papers concurrently and simultaneously denied share no fact or law and the
order was based upon virtually no analysis. The 2 papers should be heard separately, they request
different relief. Reconsideration/rehearing is necessary. Obviously, the “Amended Complaint” of
Mr. LaRusso should not survive. Huminski’s plead fact and law present a much different

scenario.
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 8 of 22
An Amended Complaint filed by a non-party suffers a dismissal/denial quite different than

a properly supported Motion to Intervene which is held to a different legal and factual standard.
Mr. LaRusso does not mention a tort of Defendant DeSantis once in his Amended Complaint nor
does he complain of any actionable conduct of the Governor. Defendant DeSantis is the sole
tortfeasor proffered by Huminski in his intervention motion. Torts similar, if not identical, to Mr.
Warren’s First Amendment claims. No party has opposed Huminski’s intervention or alleged
prejudice tipping the scales in Huminski’s favor. See Generally Motion to Intervene and the legal

basis for intervention therein.

Dated at Miami, Florida this 10" day of September,,2022.
S/- Scott Huminski . 2. ee

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wee ern

Scott Huminski. pro en

P.O. Box 353820

Palm Coast, FL 32135

(239) 300-6656

S_Huminski@live.com
Certificate of Service

Copies of this document and any attachment(s) was served upon the parties via the U.S. Mails
and/or email and/or the e-filing system in this case.

Dated this 10" day of September, 2022." _

 

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-/s/- Scott Huminski a _
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EXHIBIT “A”
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 9 of 22

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EXHIBIT “B”
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Gov. DeSantis: The New Nixon

Is the Cover-up worse than the crime?

How similar is Gov. Ron DeSantis’ cover-up of the felony forgeries of Chief
of Special Prosecutions (Fl 20" Judicial Circuit), Anthony Kunasek, Esq. to
Watergate?

Kunasek committed suicide via a gunshot would to the head 30 days after his
forgeries and DeSantis’ cover-up of the forgery of several court orders was
filed in federal court (in the “Don’t Say Gay” lawsuit) and a day after the FBI
requested an interview with Kunasek concering his crimes.

Florida prosecutor found dead
First the facts.

In Equality Florida v. DeSantis (U.S.D.C. ND Florida, 4:22-cv-00134-AW-
MJF) (the “Don’t Say Gay” lawsuit) sworn court filings stand unopposed by
DeSantis and Florida Attorney General Ashley Moody detailing Kunasek’s
forgery of a show cause order under the direction of State’s Attorney Amira
Fox. Two judicial recusal orders are also on the record as forgeries, however,
it is not clear if Kunasek or courthouse staff forged the 2 disqualification
orders.

DeSantis and Florida Attorney General Ashley Moody took the opportunity
to engage in a cover-up of the forgeries in the Florida 11" Judicial Circuit
(Miami) and the Florida 3" District Court of Appeal (Miami) in 2021-2022
attempting to see to it that the crimes never saw the light of day. The Florida
State Republican appointed judiciary cooperated leading to the matter being
proffered in the federal courts in the Don’t Say Gay lawsuit.

First filing in USDC Northern District of Florida
USDC Motion for injunction against DeSantis
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 12 of 22

Once in the federal court, Trump appointee and federalist society member
Judge Allen Winsor quickly sua sponte dismissed the charges against
DeSantis despite no party had filed any opposition to the DeSantis
allegations. In federal district court, both DeSantis and the Florida Attomey
General chose to remain silent.

Trump Judge Who Defended Same-Sex Marriage Ban Will Review Florida’s
“Don’t Say Gay” Law

Atlanta Ga, U.S. 11" Circuit Court of Appeals (22-12392-GG, 2022).

An appeal was filed objecting to the rulings of the Trump appointed federal
judge in the lower federal court. The appellate filings, under oath, re-assert
the DeSantis cover-up, corruption and collusion with Florida AG, Ashley
Moody, Esq.. The papers assert acts of moral turpitude by DeSantis and his
attorney in violation of federal criminal statutes 18 U.SC. § § 241, 242
(Conspiracy against rights, violation of rights under color of law) as well as
the constitutional prohibitions that forbid the conduct of DeSantis and
friends.

The appeal seeks to immediately enjoin future conduct of Governor DeSantis
that would further his cover-up of crimes that he perpetrated in the Florida
State courts. His cover-up also caused continuing illegal First Amendment
prohibitions and was a scheme intending to unjustly enrich the treasury of the
State of Florida in 2021-2022.

Emergency Motion Injunction against DeSantis U.S. 11th Circuit Court of
Appeals

Further filing in U.S. 11th Circuit Court of Appeals

On appeal, DeSantis and Attorney General Ashley Moody have remained
silent and the deadline has long passed for them to oppose the injunction
requested in the high Atlanta federal court concerning the corruption in the
highest levels of the Florida State government.
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One of the goals of the injunction under consideration by the federal
appellate court is Florida’s threats to citizens that any communication with
the entire State of Florida’s government is prohibited and will be punished
with imprisonment via contempt. This speech prohibition is memorialized in
an order from a State court that DeSantis has zealously supported and

protected in the State courts. Filing quoting speech prohibition

Once in the federal court system in Tallahassee and now Atlanta, DeSantis
and his attorney have chosen to remain silent.

DeSantis’ ultimate goal related to this litigation is silencing of dissent — one
of the early hallmark’s of a police state.

Is the blood of prosecutor Anthony Kunasek, Esq. on the hands of the Florida
Governor and Attorney General?

DeSantis didn’t plead the Fifth yet, perhaps next time he is in court over this
issue, he will be pleading the Fifth and a federal prosecutor will be asking the
questions.
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 14 of 22

 

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DeSantis corrupt Police State felony courthouse forgery cover-up TRIBUTE

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Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 15 of 22

EXHIBIT “B”
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 16 of 22

In The
United States District Court
Northern District of
Florida
ANDREW WARREN. ) Number:
PLAINTIFF, ) 4:22-cv-00302-RH-MAF
V. )
RONALD DESANTIS, ET AL, )
DEFENDANTS. )

Cerificate of Service and receipt by the Court, Re:
9/10/2022 Motion

 

NOW COMES, Scott Huminski (“Huminski”), and certifies that the Court received

Huminski’s Motion for Reconsideration/Rehearing as follows:

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Hello scott huminski,

Your item was delivered in or at the maiibox at
1:54 pm on September 14, 2022 in
GAINESVILLE, FL 32601.

Tracking Number: 8546406698112253541570

After delivery Huminski spoke to a clerk at the Gainesville USDC, Blair, who
acknowledged receipt and that the paper had been transmitted to Clerk Barker in Tallahassee
USDC on the same day of receipt, 9/14/2022. A copy of the envelope as delivered by the USPS
was attached to the Motion for Reconsideration/Rehearing as Exhibit “A”. Huminski wil Han

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deliver another copy of the Motion for Reconsideration/Rehearing this week.

SoC
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Huminski also filed a paper with the Court dated September 6, 2022, a Notice of Filin at

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the Court received, but, did not docket. Huminski believes that there is some improper c ct

related to the censorship of papers filed with the Court. See envelope sent 9/10/2022,
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Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 17 of 22

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-/S/- Scott Huminski

 

Scott Huminski, pro se
P.O. Box 353820

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S_Huminski@live.com

Certificate of Service

Copies of this document and any attachment(s) was served upon the parties via the U.S. Mails
and/or email and/or the e-filing system in this case.

022.

 
  
 
 

Dated this 19" day of September,

-/s/- Scott Huminski ge

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Scott Huminski

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Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22 Page 18 of 22

EXHIBIT “C”
Case 4:22-cv-00302-RH-MAF Document 61 Filed 09/27/22

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
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Page 19 of 22

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EXHIBIT “D”
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Page 1 of 2

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

ANDREW H. WARREN,

Plaintiff,
V. CASE NO. 4:22cv302-RH-MAF
RON DESANTIS,

Defendant.

 

ORDER DENYING MOTIONS TO INTERVENE

In this action a State Attorney challenges his removal by the Governor. Scott
Huminski, a nonparty who has no apparent interest in this litigation other than as a
lay observer, has moved for leave to intervene.

Michael LoRusso, another nonparty who has no apparent interest in this
litigation other than as a lay observer, has submitted a document entitled
“Amended Complaint of Petitioner.” As a nonparty, Mr. LoRusso has no right to
submit pleadings or other documents. His filing may be an attempt to intervene and

will be treated as a motion for leave to do so.

Case No. 4:22cv302-RH-MAF
CGase £220:H0062 RRHMAF DDoowment 81 Fea OA/02/22 PRage 2 of 22

Page 2 of 2

Neither Mr. Huminski nor Mr. LoRusso has alleged facts entitling them to
intervene as of right under Federal Rule of Civil Procedure 24(a) or making them
eligible for permissive intervention under Rule 24(b). As a matter of discretion,
neither would be granted leave to intervene permissively, even if they were
somehow deemed eligible under Rule 24(b).

Mr. Huminski and Mr. LoRusso should file nothing further. This is not an
open forum for submission of public comments.

IT IS ORDERED:

1. Mr. Huminski’s motion for leave to intervene, ECF No. 9, is denied. His
notice of appearance, ECF No. 25, and affidavit, ECF No. 26, are struck.

2. Mr. LoRusso’s “amended complaint,” ECF No. 12, is deemed a motion
for leave to intervene. The motion is denied.

3. The clerk must provide copies of this order to Mr. Huminski and Mr.
LoRusso but not add them to the docket or provide them copies of further filings.

SO ORDERED on September 2, 2022.

s/Robert L. Hinkle
United States District Judge

Case No. 4:22cv302-RH-MAF
